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                      IN THE UNITED STATES DISTRICT COURT
       AUG 2 ~ 2021 FOR THE CENTRAL DISTRICT OF omo
11CBAIDW,NAGEL,CLERK0iC         EASTERN DMSION
       COLUMBUS. omo




    Sai-E Johari,
              plaintiff,
                                                                              '2 21CV4286
    V                                                         Case Number - - -- - - -

    City of Columbus, et al.,
    Mayor Andrew Ginther, Joe Villavicencio,                  Judge
                                                                               Judge Momson
    African American Tenant John Doe
                                  Defendants.                 Magistrate MAGISTRATE JUDGE VASCURA




                                          COMPLAINT


    1. Now comes plaintiff with this multi-jurisdictional suit 2. Because the plaintiff is proceeding

    pro se and has not been to law school, he does not know the routine day to day functions of
    being a lawyer. 3. Consequently, this pleadjng ~ntains procedural errors. 4. Therefore, in the

    interests ofjustice. the Sovereign Inspectors are asked to liberally construe and give plaintiffhis

    day in court. S. And so, in a short and plain, clear and concise manner, demonstrating that he is

    entitled to relief, plaintUf asserts that he has personally suffered harm. 6. The injuries plaintiff

    suffered are a direct and proximate result of the defendant's egregious misconduct. 7. When the

    defendants engaged in their arbitrary & capricious misconduct, they either knew or should have

    known their actions violated clearly established law. 8. Yet, with deliberate indifference the

    defendants en.gaged in their misconduct anyway. 9. Consequently, a legal dispute now exits.



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                                        JURISDICTION
  The court has jurisdiction under Title 42 USC Section 1331 and/or Title 42 USC Section 1343.
                       FEDERAL QUESTION JURISDICTION
The Court's federal question jurisdiction is invoked under well settled law that prohibits:
1. Causing Pain & Suffering
2. Failing to Perform a Required Duty
3. Intentional Infliction ofEmotional Distress
4. Violation of Condoned Custom Theory
5. Violation of Continuing Violation Theory
6. Violation of Title 42 USC Section 1981
7. Violation of Title 42 USC Section 1985 (1) and (2)
8. Denial of a Citizen's 1st Amendment Right to Liberty
9. Denial of a Citizen's 4th Amendment Right to Privacy
10.Denial of a Citizen's 14111 Amendment Right to Equal Protection
11.Denial of a Citizen's 14111 Amendmtmt Right to Equal Treatment

and all other applicable laws, ordinances and statutes ofthe United States.
                       SUBJECT MATTER JURISDICTION
The court has SMJ under authority of the U.S. Constitution so it can rule on the facts of this case.
                              PERSONAL JURISDICTION
1. All defendants reside in Columbus, Ohio. 2. Plaintiff is seeking redress for unlawful behavior

that occurred in Ohio. 3. The defendants acted in such a cold, callous and calculating manner to

a point where, they put themselves at risk of being sued. 4. As verified by video, text messages,

DNA evidence, and other written communiques, even after being put on notice they could be

sued for violating plaintiff's rights the defendants stated that they would continue to engage in

their unlawful behavior. 5. Thus, plaintiff has met his burden of demonstrating the who, what,

where, when, how, and why this court has personal jurisdiction over the defendants, and thus

may entertain plaintiff's federal law claims. 6. Under authority of the relevant articles of the

Ohio Constitution, and under authority of all other housing laws, statutes, and ordinances, this

court can also discharge its power and rule on plaintiff's pendant State law claims.



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                                            VENUE

1. All defendants reside in the State of Ohio. 2. At least one defendant lives in Franklin County.

3. All of the unlawful conduct occurred in Ohio. 4. Therefore, pursuant to the U.S. Constitution,

the Ohio Constitution, and all other applicable laws, venue has properly been established.




                                       THE PARTIES



Plaintiff:
Sai-E Johari 409 ½ Saint Clair Avenue Columbus, Ohio 43207




Defendant:
Mayor Andrew Ginther (City Hall) 90 West Broad Street Columbus, Ohio 43215




Defendant:
Joe Villavicencio (Owner) 1931 Parsons Avenue Columbus, Ohio 43203 (614) 902-7725




Defendant:
African American John Doe 409 Saint Clair Avenue Columbus, Ohio 43203




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                   DEFENDANT MAYOR ANDREW GINTHER

1. Defendant Andrew Ginther (hereafter defendant Mayor Ginther) is the Mayor of Columbus.

2. Defendant Mayor Ginther is being sued in his official and individual capacity because, as

Mayor, defendant Mayor Ginther is the superior officer of Columbus. 3. Because defendant

Mayor Ginther is the ultimate voice concerning what is, and what isn't going to be an official

rule, regulation, policy, practice, custom or promulgated procedure, defendant Mayor Ginther

may be held liable for his personal involvement and/or his acquiescence to wrong brought to his

attention. 4. Specifically, defendant Mayor Ginther (like many other Democrats) aids & abets

illegal immigration. S. Thus, contrary to the law Defendant Mayor Ginther aids & abets illegals

relocating to Columbus infected with life threaumjng diseases like tuberculosis and COVID-19.

6. In ~ Defendant Ginther aids & abets diseased illegals elude being detected. 7. Defendant

Mayor Ginther also aids & abets lawfully deported illegals so they can illegally re-enter the U.S.

8. Defendant Mayor Ginther assisted in Columbus being turned into a safe haven Sanctuary City.

9. Defendant Mayor Ginther has caused plaintiff (and other citizens who reside in Columbus) to

be subjected to crime perpetrated by illegal aliens. 10. Defendant Mayor Ginther's conduct has

caused plaintiff (and other citizens residing in Columbus) to be denied employment in favor of

an illegal. 11. Defendant Mayor Ginther has caused plaintiff (and many other citizens) being

delayed and/or denied HUD housing due to a quota system being put in place, that reserves HUD

housing for a cheaper workforce of illegal aliens. 12. By aiding & abetting illegal immigration

defendant Mayor Ointher's actions has caused excessive wear and tear on the infrastructure, that

has deteriorated in the inner-city so bad, plaintiff (and all other citizens) are forced to dole out

buckets of duckets to pay for expensive auto repairs---i.e. like citizens having to buy a new

muffler because, the perfectly fine old one was knocked off by a sudden, unforeseen pothole.

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                      DEFENDANT JOSEE VILLAVICENCIO

1. Defendant Jo Villavicencio (called Joe Villo) is a Hispanic American who owns the property

located at 409 Saint Clair Avenue Columbus, Ohio 43203 (614) 902-7725. 2. Defendant Villo

is being sued in his official & individual capacity because, as a slumlord (and contrary to law)

Villo rents dwellings that are not safe, secure, clean, and smoke free. 3. Specifically, defendant

Villo attempted, but failed miserably at trying to separate a single occupant dwelling into two

units, so he could make more money renting out two units instead of one. 4. In order to access

the water pipes Villo performed shotty carpentry work, which left a 2-3 inch gap along the base

board (behind the toilet) in plaintiff's bathroom, that allows the court to see the area behind the

bathroom downstairs. 5. Thus, plaintiffpays rent for his own private dwelling but is forced to

share airspace with another unit. 6. Defendant Villo then rented the downstairs unit below

plaintiff to a chain smoking Somali Muslim, whose name (as certified by texts) Villo refused to

divulge in an attempt to hinder this suit from being filed. 7. Because ofthe shared airspace, the

Somali's deadly secondhand cigarette smoke comes through the cracks & gaps in the walls, and

completely fills up plaintiff's apartment with a life threatening cocktail ofrat poison and 50 other

CANCER CAUSING chemicals. 8. As verified by video and text messages, after bringing the

problem to defendant Villo's attention, Villo stated that (after consulting with his attorney) as a

condition to plaintiff being granted housing, plaintiff had to give up his right to a smoke free

(shared airspace) dwelling, and would have to accept being forced to secondhand smoke---which

is causing plaintiff to suffer serious health problems. 9. Accordingly, in addition to all the other

Mau-auh Kir-roo (True of Voice / Justified) allegations the Marked Master Prosecutor bas

lodged against defendant Villo in the Complaint, defendant Villo may also be prosecuted for

trying to force plaintiffto abide by an unenforceable con1ract


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                                .D EFENDANT JOHN DOE

1. Defendant John Doe is supposedly a (Tl dna) Somali African American male from Somalia.

2. In July of 2021 defendant John Doe moved into the unit downstairs. 3. Because the defendant

is a chain smoker, he causes deadly secomlband cigarette smoke to seep through the gaps of the

walls, which causes plaintiff's apartment to completely fill up with harmful secondhand cigarette

smoke. 4. Thus, plaintiff asked defendant John Doe to obey the law, and refrain from smoking

in the building because, due to defendant Villo's failure to completely seal off plaintiff's unit

from defendant John Doe's unit, everytime defendant John Doe and his chain smoking friends

smoke their dopo---their deadly secondhand cigarette smoke that contains a cocktail of rat poison

and SO other CANCER CAUSING chemicals---completely fills up plaintiff's apartment,

rendering it totally uninhabitable. S. In an attempt to air out bis apartment, plaintiff is forced to

open up all of his windows, and go stand out in the heat, rain and/or cold. 6. In response to the

request, the irritated Somali said it is a condoned custom for Muslims to smoke sweetened,

menthol flavored tobacco. 7. Defendant John Doe went on to say, because Muslims have to

accept Americans eat pork--which is against Muslim law--Americans have to accept Muslims

smoke tobacco. 8. In response to the crude colloquy plaintiff said, whenever plaintiff eats a

braut, a pork chop or a BBQ rib, plaintiff doesn't force Muslims or anyone else to ingest pork.

9. But everytime defendant John Doe and his partners in crime fire up their dope they violate

plaintiff's rights, by forcing plaintiffto secondhand smoke their dope that the Surgeon General

certified is the most addictive dope, and the dope that kills 45,000 African American Neegroes

every year. 10. After becoming enraged, defendant John Doe walked away, and refused to obey

the law. 11. In light of all the previous, defendant John Doe can be held liable for violating

plaintiff's 1st, 4th and 14th Amendment rights.

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                                            IMMUNITY

1. No defendant is a State or Federal official. 2. No defendant is a State or Federal Sovereign.

3. No defendant is a State or Federal prosecutor, so no defendant is immune from prosecution.




                              STATUTE OF LIMITATIONS

1. Plaintiff brings this action S months after the occurrence of the complained of misconduct.

2. Thus, this suit is timely and well within the 2 year civil rights statute of limitations.




                                        VERIFICATION

1. From firsthand, personal knowledge, plaintiff has standing to bring suit. 2. Plaintiff further

declares under penalty of perjury that all of the foregoing is true and correct.




Respectfully submitted,




S/1 Sai-E Johari 360 •
409 ½ Saint Clair Avenue
Colwnbus, Ohio 43203
TrueLightWarrior@yahoo.com


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                             STATEMENT OF THE FACTS


                                          Paragraph One
1. Misled by Los Angeles, California Mayor Eric Garcetti, New York Mayor Andrew Cuomo,

and other Democrat Mayors in cities like Detroit, Chicago, Oakland, San Francisco and etc.,

defendant Mayor Ginther enacted an illegal immigration policy that discriminates against

plaintiff, and all other citizens residing in Columbus. 2. To illustrate, the court is asked to note

that the Founding Bigots established what came to be known to darker persuasions of people as

AmeriKKK.---a racist, terrorist, criminal enterprise for the benefit of Rib tyrosine(-) US & H dna

white Caucasians only. 3. Thus, for 246 years there was an all-white affirmative action program

in place, that only allowed whites to get a job, own a house or establish a business. 4. Enslaved

Black Americans then passed down to their descendants that, the entity AmeriKKK. was led by a

one Gorgeous George Washington---i.e. the number one sex trafficker ofS.W. (Akintay) L2 dna

Kongo Kameroon Black women. S. In 1861 President Jefferson Davis, General Robert E. Lee,

General P.T. Beaure~ special agent John Wilkes Booth, and the Southern Confederate

Democrat Party were led by the 2 most powerful, racist, richest Jews Senators Judah P. Benjamin

and David Yulee. 6. Because Benjamin was a Columbian Mason aligned with the Grand PooPah

Albert Pike, there's a statute of Benjamin outside of the Capital building in Washington D.C.

7. The philosophy ofthe Southern Confederate Democrat Party called for them to continue

enslaving Black Americans & forcing S.W. (Akintay) L2 dna Kongo Kameroon Black women

into sex-trafficking, being sex-slaves, and having unclaimed rape babies like Frederick Douglas,

Bob Marley, and the mother ofthe Honorable Malcolm X. 8. The Confederate Democrats were

opposed by the Northern Union Republicans led by Abraham Lincoln, General Ulysses S. Grant,

Lancaster, Ohio General William T. Sherman, and the majority of the good Jews---headed by the

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fine Jewish Senator from Michigan Jacob Merritt Howard---who wrote the 13th Amendment

(outlawing slavery) and the 14th Amendment, which made all newly freed Black Americans

(and children born in America) citizens. 9. After espousing all of the above, the fine Jewish

Senator Jacob Merritt Howard went on to say "but of course" the 14th Amendment does not

apply to (legal or illegal) aliens (like Mexicans) and their kids who might be bom in America.

10. The impasse led to the ballot or the bullet. 11. The Southern Confederate Democrats didn't

want to accept the ballot, so they caught the bullet. 12. Ameri-KKK. then started heading down

the right path to becoming our beloved America. 13. To ensure the Emancipation Proclamation,

the 13th Amendment, the 14th Amendment, and Article 1 Section 8 Clause 4 ofthe United States

Constitution would be obeyed, President Lincoln enacted fourteen (14) illegal immigration laws.

14. As the Court knows, those 14 illegal immigration laws are:

1.   8 USC Section 1321        (No illegal landing)
2.   a use    Section 1322 (No aiding unhealthy illegals)
3.   8 USC Section 1323 (No illegal bringing)
4.   8 USC Section 1324 (No hiring or harboring illegals)
s.   8 USC Section 132S (It's a crime to enter US illegally)
6.   8 USC Section 1326 (No unlawful re-entry)
7.   8 USC Section 1327 (10 years for aiding & abetting illegals)
8.   8 USC Section 1328 (No illegal prostitutes)
9.   8 USC Section 1329 (No aiding unhealthy illegals elude)
10. 8 USC Section 1357 (ICE can arrest illegals anywhere)
11. 8 USC Section 1363 (ICE~ go undercover to arrest illegals)
12. 8 USC Section 1373 (No sanctuary cities, counties or states)
13. 8 USC Section 12S1         (All illegals must be deported)
14. 8 USC Section 1481 (Pledge to aid foreign government lose citizenship)




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1S. In defiance of our righteous laws, Democrat Mayor Eric Garcetti of Los Angeles, California

brought an illegal immigrant family from Mexico to his inauguration. 16. On city-wide T.V.

L.A. Mayor Eric Garcetti then had the daughter of the illegal immigrants hold the Bible, while

L.A. Mayor Eric Garcetti swore (per his entrails) that he would uphold, protect, and defend the

Constitution ofthe United States, the Constitution ofthe California Republic, and would enforce

all of the righteous laws of Abraham Lincoln. 17. Despite swearing under oath he would obey

the law L.A. Mayor Eric Garcetti did the exact opposite. 18. Garcetti knowingly, purposefully,

willfully, and intentionally violated all 14 of our illegal immigration laws. 19. As a direct and

proximate a result of the actions of L.A. Mayor Garcetti, and N.Y. Mayor Andrew Cuomo, it has

resulted in other Democrat Mayors (including defendant Mayor Andrew Ginther) deciding to

violate the law. 20. Accordingly, plaintiff, and all other citizens residing in Columbus are now

subjected to unfair job competition. 21. Plaintiff has also been denied due process, and equal

protection, every time an illegal is hhcd & harbored and given a job and/or mm housing over

plaintiff. 22. By Defendant Mayor Ginther unlawfully harboring illegals, it has resulted in

plaintiff and other citizens being subjected to crime. 23. Defendant Mayor Ointher's illegal

conduct also enabled an illegal Mexican named Anthony Lopez Perez to relocate from Obi~ to

California, where he kidnapped, raped, robbed, and murdered a 21 year old single white female

named Cory Desmond. 24. Defendant Mayor Ointher's violation of the law enabled an illegal

Mexican named Pedro Espinou to relocate from Ohio to California, whereupon he killed a

Black American male named Jamil Shaw. 2S. Defendant Mayor Ginther enabled another illegal

Mexican named Christian Echoa to relocate to Ohio---after serving S years in a Texas prison for

burglary---whereupon Echoa migrated to Brooklyn Iowa, where he kidnapped, raped, robbed,

and murdered a 20 year old single white female named Molly Tibbetts. 26. By Defendant



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 Mayor Ginther allowing unhealthy illegals to come to Columbus, plaintiff and all other citizens

 are being put at risk of contracting life-threatening diseases like tuberculosis, and the even worse

 (Delta variant) strain of COVID-19. 27. Additionally, Mexican Drug Lords like El Chapo have

confessed to sending moles, plants, spies & agent provocateurs to thoroughly infiltrate all U.S.

law enforcement, and security agencies. 28. After thoroughly infiltrating law enforcement and

security agencies (even the military), these criminals with a badge then use government powers

for purposes of oppression against American citizens.

                                          Paragraph Two

1. Plaintiff re-alleges all ofthe averments in Paragraphs 1 and incorporates them by reference as

if fully re-stated herein. 2. Defendant Mayor Ginther has another discriminatory policy that

allows plaintiff to be denied his liberty, privacy & rights of equal treatment. 3. Specifically, the

law of the land states that all cigarette smokers must go outside, and go at least 20 feet from any

entrance or exit to smoke their dope. 4. There is no provision that in the event of inclimate

weather, dummy stick smokers can congregate directly infront of any entrance or exit to smoke.

5. Because the Surgeon General, the CDC, and the entire medical profession bas posted pure

objective, mathematical, factual & actual, peer reviewed abstracts, papers, affidavits, brochures,

booklets, pamphlets, scientific journals, laboratory studies, scholarly reports and etc., certifying

that just one whiff of secondhand ~igarette smoke is so lethal, it has been known to cause an

infant to go into cardiac arrest (and die from SIDS), the majority of We the People got together,

and agreed that anything that kills 45,000 citizens every year bas no place in a civilli:ed society.

6. Yet, all ofthe anti-smoking signs, and all of the anti-smoking T.V. commercials still have not

persuaded cigarette smokers to accord non-cigarette smokers their rights. 7. Therefore, a broad

coalition of concerned citizens got together and decided that it would be in everyone's best

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interests to ban cigarette smoking everywhere in public---i.e. downtown, at the bus stop, at the

beach, outdoor gatherings, sporting events, rallies, etc. 8. Because ofthe valid health concerns,

all Courts that have dealt with the issue agreed it is Unconstitutional to force a citizen to do any

drug against their will---including all college Fraternities who were enjoined from requiring a

candidate to smoke cigarettes against their will, as a condition to being accepted into the Frat.

9. Courts have also ruled an Employer doesn't have to hire cigarette smokers. 10. Because of

valid economic concerns, Courts have ruled that Employers can terminate cigarette smokers who

promise to only smoke off the clock. 11. The Office ofVeterans Affairs even joined the cause,

and has banned cigarette smoking anywhere on V.A. property. 12. Due to residents having to

share the same airspace, Courts have ruled that Convalescence Centers, Senior Citizen Centers,

and Homeless Shelters are obligated to ensure that no smoking occurs anywhere on the premises.

13 .Per the OSHA, Courts have even ruled partyers can't smoke cigarettes in a private social club.

14. Likewise, in the event a land.lord decides to convert a single housing complex into 2 or more

units, the landlord is obligated to make sure that the units are completely sealed off from each

other, and do not share the same airspace. 15. To get intune with the times, regardless of the

unlawful conduct of L.A. Mayor Eric Garcetti and N.Y. Mayor Andrew Cuomo-Beverly Hills,

San Francisco, and other Cities have banned vaping, smoking cigarettes or smoking weed or any-

thing else in public. 16. After consulting health organi7~tions, President Biden too bas agreed to

issue an Executive Order banning the sale, and the use of sweetened, menthol flavored cigarettes.

17. But defendant Mayor Ginther refuses to comply with the righteous agenda that his own

Democrat party has agreed to adhere to. 18. Thus, defendant Mayor Ginther refuses to strike a

balance between the smoking rights of his former (fellow) Democrat President Barack Obama

(and the 21 % immoral minority), who want to be argumentative, combative, and rebellious, and



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deny the expertise of the entire medical profession, and go on and shoot their lUDgS up with a

cocktail of rat poison and 50 other CANCER CAUSING chemicals, and encourage other

misguided youths (with no direction, leadership, vision or guidance) to go on and shoot their

lungs up too with a cocktail ofrat poison and SO other CANCER CAUSING chemicals vs the

rights of Republican President Donald Trump (and the 79% majority) who do not want to be

forced to secondhand smoke rat poison and 50 other CANCER CAUSING chemicals that cause

the highest rates of heart and lung disease. 19. Even though defendant Mayor Ginther took an

oath to provide a safe, secure, clean & smoke free environment throughout the entire City, that's

to be enjoyed by all citi7.ens (not just cigarette smokers), defendant Mayor Ginther still allows

cigarette smokers to force plaintiff (and all other citi7.ens) to secondhand smoke cigarette smoke,

that contains a cocktail ofrat poison and SO other CANCER CAUSING chemicals. 20. Thus,

when plaintiff is waiting at the bus stop or attempts to go in or out of a Convenient Store or tries

to go in and out of a Super Market or the Library, a City Pm, the Police Department or even the

Courthouse, cigarette smokers will be there forcing plaintiffto secondhand smoke a cocktail of

rat poison and 50 other CANCER CAUSING chemicals. 21. Per pure objective, mathematical,

factual & actual, peer reviewed scientific data, everytime plaintiff is forced to inhale seonndhand

cigarette smoke, it immediately constricts and hardens plaintiff's veins & arteries. 22. Scientific

data also says when plaintiff, the elderly, and kids with underdeveloped immune systems have

their veins & arteries constricted, it inhibits proper blood flow to the brain, which inhibits the

proper production of acetylcholine (A.C.T.), which means no bands of electricity can synapse

through the fluid, and take efferent & afferent neuron messages to and from the brain, which

causes the messages to backlog up inside a nerve ending •\D.til it ruptures, due to the excessive

depositing ofmessaging, which will causes a person to suffer from 1 of the 10 negative effects


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of being forced to secondhand smoke cigarettes--i.e. plaintiff will develop a form of autism,

dyslexia, ADH, ADHA, emphysema, bronchitis, asthma, black lung, SIDS and/or cerebral palsy.

23. Pure objective, mathematical, factual & actual, peer reviewed science also says, secondhand

smoking the Polonium 210 in cigarettes, which is the most toxic and radio-active form of lead

poisoning, will cause plaintiff and all other humsns to develop lung cancer or have to get a hole

cut in the middle of our throat. 24. From being forced to secnndhand smoke Hydrogen Cyanide

(or chamber gas) in cigarettes, will cause plaintiff to suffer a stroke and/or a blood clot, which

will cause gangrene to set in, which means plaintiff will have to get bis arms and legs amputated.

2S. From plaintiff being forced to secondhand smoke the rat poison or arsenic in cigarettes, will

destroy plainti:ff's kidneys, which will cause a blood disease, which will cause plaintiff to have to

go to dialysis for the rest of his life. 26. From being forced to secondhand smoke Formaldehyde

(a dead organ preservative) that's also in cigarettes, will cause plaintiff to suffer liver failure.

27. From being forced to secondhand smoke the Pesticide in cigarettes will cause any children

plaintiff may have to suffer birth defects. 28. lnspite of defendant Mayor Ginther being aware

of the S primary effects of smoking cigarettes, and inspite of an educated man like defendant

Mayor Ginther being aware of the 10 negative effects of being forced to secondhand smoke a

cocktail of rat poison and 50 other CANCER CAUSING chemicals, defend.ant Mayor Ginther

and his City Council continue to allow cigarette smokers to go everywhere in public, and injure

plaintiff, by forcing plaintiff (and all other citizens residing in Columbus) to secondhand smoke

a cocktail of rat poison and 50 other CANCER CAUSING chemicals---thereby denying the

plaintiff his 1st, 4th and 14th Amendment rights, which means defendant Mayor Ginther can be

held liable under the Condoned Custom Theory and the Continuing Violation Theory.




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                     .FIRST CLAIM OR CAUSE OF ACTION
                              Violation of illegal Immigration Law


 1.   8 USC Section 1321 (No illegal landing)
2.    8 USC Section 1322 (No aiding unhealthy illegals)
3.    8 USC Section 1323 (No illegal bringing)
4.    8 USC Section 1324 (No hiring or harboring illegals)
s.    8 USC Section 1325 (It's a crime to enter US illegally)
6.    8 USC Section 1326 (No unlawful re-entry)
7.    8 USC Section 1327 (10 years for aiding & abetting illegals)
8.    8 USC Section 1328 (No illegal prostitutes)
9.    8 USC Section 1329 (No aiding unhealthy illegals elude)
10. 8 USC Section 1357 (ICE can arrest illegals anywhere)
11. 8 USC Section 1363 (ICE can go undercover to arrest illegals)
12. 8 USC Section 1373 (No sanctuary cities, counties or states)
13. 8   use    Section 12S1      (All illegals must be deported)
14. 8 USC Section 1481           (Pledge to aid foreign government lose citizenship)


                                   AGAINST DEFENDANT
                                     Mayor Andrew Ginther

1. As the Court knows, claims brought under the 1st, 4th and 14th Amendments of the U.S.

Constitution require some sort of government action. 2. In Paragraph One of the plaintiff's

Statement of the Facts (hereafter the SOF) plaintiff avers that while acting in his official and

individual capacity, the defendant (Mayor Andrew Ginther) bad a meeting of the minds with

National Chairman of the Democrat Party Tom Perez, Ohio Senator Sherrod Brown, as well as

with L.A. Mayor Eric Garcetti, N.Y. Mayor Andrew Cuomo, Chicago Mayor Lori Lightfoot, and

various other Democrats to go over the logistics of how to knowingly, purposefully, willfully,


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and intentionally violate America's righteous illegal immigration laws. 3. After securing the

logistics defendant Mayor Ginther arbitrarily & capriciously enacted unlawful rules, regulations,

policies, practices, customs, and promulgated procedures that deny plaintiff and all other citizens

his, their, our 1st, 4th and 14th Amendment rights. 4. Specifically, as stated in the SOF, by

defendant Mayor Ginther deciding to violate the law 8 USC Section 1321 and allowing illegals

to illegally land, plaintiff is subjected to unfair job competition. 5. By defendant Mayor Ginther

violating the law 8 USC Section 1322 and permitting unhealthy illegals to reside in Columbus,

plaintiff is put at risk of contracting life-threatening diseases like tuberculosis and COVID-19.

6. By defendant Mayor Ginther violating the law 8 USC Section 1323 and unlawfully loading

up a bus, and bringing illegals to Columbus, it bu resulted in plaintiff (and other citizens) being

subjected to crime, like when an illegal Mexican Anthony Lopez Perez was brought to Ohio then

relocated to California, whereupon he kidnapped, raped, robbed, and murdered a 21 year old

single white female named Cory Desmond, and like when the illegal Mexican Pedro Espinom

was brought to Ohio, after which he relocated to California, whereupon he shot and killed a

Black American male named Jamil Shaw, and like when the illegal Mexican Christian Echoa

was brought to Ohio (after serving 5 years in a Texas prison for burglary) Echoa migrated to

Brooklyn Iowa, where he kidnapped, raped, robbed, and murdered a 20 year old single white

female named Molly Tibbetts. 7. By defendant Mayor Ginther violating 8 USC Section 1324

plaintifJ is denied equal protection, and due process, every time an illegal is hired and given a job

over plaintiff, and is harbored and given HUD housing over plaintiff. 8. After being put on

notice by President Lincoln at his reinauguration 161 years ago (back in 1865), when Mexicans

illegally cross the border they know they are violating the law 8 USC Section 1325. 9. By

defendant Mayor Ginther violating the law 8 USC Section 1326 and permitting previously


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 deported illegals to unlawfully re-enter the U.S., and migrate to Columbus, plaintiff and all other

citizens are again being put at risk of being the victim of crime, like when the S times deported

illegal Mexican (at the time) named Wahn Francisco Lopez Sanchez was brought back to

California a 6th time by a Mexican drug lord mole, plant, spy, agent provocateur, who managed

to infiltrate law enforcement and became Sheriff of San Francisco---whereupon the S times

deported illegal (who has since changed bis name) shot and killed Kathryn Steinlee, who was

doing absolutely nothing but standing on the southern peninsula peer of the Golden Gate Bridge

with her dear old Dad, while trying to have some fun and engage in a bit of California Dreaming,

that turned into a California Nightmare because, former President Barack Obama and defendant

Mayor Ginther both knowingly, purposefully, willfully intentionally refused to adhere to their

oath, and enforce our illegal immigration laws. 10. By defendant Mayor Ginther violating the

law 8 USC Seetion 1327 and aiding & abetting illegals securing unentitled benefits means,

defendant Mayor Ginther, and all other officials who knowingly, purposefully, willfully, and

intentionally violate our righteous laws are supposed to be imprisoned for ten (10) years.

11. Therefore, like bis contem.porizes in ancient Egypt, the Marked Master Prosecutor moves the

Court to forward this Mau-auh Kir-roo (True of Voice Justified) indictment against defendant

Mayor Ginther to the U.S. Attorney's Office for proper adjudication. 12. By defendant Mayor

Ginther violating the law 8 USC Section 1328 and permitting illegal Mexican prostitutes to

come to Columbus, it has resulted in plaintiff, and other Black males like former Dallas Cowboy

Michael Irvin (#88) being falsely accused, and prosecuted on bogus charges of rape. 13. Another

problem that arises from illegal Mexican prostitutes entering the U.S. is that, corrupt moles, spies

and agent provocateurs like L.A. Deputy Sheriff Hosay Sanchez, will go on secret sex sites

known only to Mexicans to procure sexual liaisons with illegal prostitutes or dubious characters


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like Sanchez will log onto an illegal cleaning lady website to supposedly hire an cleaning lady.

 14. After luring the illegal women to an (unknown to them) abandoned building, Sanchez and

his corrupt cronies will rape the women, and under threat that he and his cronies will have them

deported, Sanchez forces the women into sex-trafficking. 1S. By defendant Mayor Ginther

violating the law 8 USC Section 1329 and assisting unhealthy illegals elude detection, then

securing medical treatment for them, results in plaintiff being taxed, and burdened with having to

pay for costly operations that plaintiff and no others should be obligated to pay for. 16. By

defendant Mayor Ginther violating 8 USC Section 1357 and enacting rules, regulations, policies,

practices, customs or promulgated procedures that prevent ICE from entering a detention facility

to arrest an illegal alien, puts the safety ofplaintiff and all other citizens at risk. 7. Citizens have

to worry about their safety because, a detention facility is the best place for ICE to effectuate an

arrest, whereas by defendant Mayor Ginter unlawfully impeding ICE from entering a detention

facility, it forces them to have to go to a private residence, a public apartment complex or to an

employer's business to effectuate an arrest, which puts citi.7.ens at risk of being taken hostage or

being struck and killed by a stray bullet, stemming from an illegal initiating a shootout with ICE.

18. By defendant Mayor Ginther (and City Council) violating our righteous illegal immigration

law. 8 USC Section 1363 and refusing to allow agents to go undercover to apprehend illegals

(running an identity theft ring), enables illegals to continue steaUng a citizen's ID in order to

obtain employment, which causes citizens all kinds of problems with the IRS. 19. By defendant

Mayor Ginther and his City Council violating 8 USC Section 1373 and a creating a safe haven

Sanctuary City for illegals, for all ofthe reasons setforth concerning defendant Mayor Ginther

violating 8 USC Section 1323, 8 USC Section 1326 and 8 USC Seetion 1363, defendant

Mayor Ginther again puts the lives of plaintiff and all other citizens at risk, by turning Columbus


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 into a safe haven for illegals instead of a safe haven for law abiding citi2:ens. 20. By defendant

Mayor Ginther violating the law 8 USC Section 1251 and refusing to round up all illegals, and

feed them bread & water in jail for 30 days--which will send a message that illegals don't have

anything to look forward to cutting in line and coming to America illegally---and by defendant

Mayor Ginther refusing to fine all illegals the requisite 50 dollars, and then forewith deport them,

ends up discriminating against plaintiff, and all other citizens who are obligated to obey the law.

21. Why shouldn't illegals be required to obey the law? 22. Why are the dummy stick smoking

Dummycrats so hung up on wanting to give illegal Mexicans preferential treatment? 23. Per

pure objective, mathematical, factual & actual, peer reviewed scientific truth, the whole truth,

and nothing but, people called MexiC811S don't come from anywhere in America or anywhere

else in the entire Western Hemisphere. 24. Mexicans are ag, axg, ab3st, atblb3, (CY) ALDH2,

A2 dna Mongols from Siberia, Russia. 25. Mexicans descend from a group of people North of

the Baikal river valley called the Buriats. 26. The Orang Asli or the original Dl dna Black Asian

(Olmecs) left Kyushu Japan, and became the 1st peaceful settlers of the Vnkatan--- before the A2

dna Mexicans invaded, and raped, robbed, murdered, enslaved & stole the land from the Olmecs.

27. The dark reddish brown skinned CI dna Amurs left N.E. China, migrated to Central Mexico,

etched themselves on the Bonampak Murals & left the skull of Penon Woman m to prove they

were the original people there. 28. Plaintiff's B-dna kinsmen were the first anatomical modern

humans of the entire westcoast of the Western Hemisphere---from the tip of South America up to

Alaska, and from California to Texas---and have the oldest human bones of the Pericues ofthe

the Ba Jahooty peninsula, Arlington Springs Man and Woman in California, Spirit Cave Man in

Nevada, our B2 dna Black Foot of Arizona (who have the oldest dna in America) our Anasazi,

Hopi, Zoni, Zuni, Zima, Yuma, Pima, Pueblo, Adobee and Jimmez, who were the original people


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 of the 4 Corner States, and we hav the oldest human bones in Texas of Wilson Leonard Man and

the Horn Shelter people, to prove our people were the original inhabitants ofthe S.W. until the

Mexicans invaded, and proceeded to rape, rob, murder, enslave, and drive our people out, after

which we migrated to Seattle then to Butte Montana, where Chief Joseph's Nez Pierce Nation

gave us sanctuary, and so, because defendant Mayor Ginther is guilty as charged, under authority

of 8 USC Seetion 1481 defendant Mayor Ginther is to be stripped of citizenship and deported,

which is why the Marked Master Prosecutor moves the Court to forward this Mau-auh Kir-roo

(I'rue of Voice/ Justified) indictment against defendant Mayor Ginther to the U.S. Attorney.




                   SECOND CLAIM OR CAUSE OF ACTION
Violation the U.S. Constitution Prohibiting Abrogation of the 1st, 4th and 14th Amendments
                                    AGAINST DEFENDANT
                                      Mayor Andrew Ginther
1. Plaintiff re-alleges all of the averments made in his First Cause of Action and incorporates

them by reference as if fully restated herein. 2. As previously stated, claims brought under the

1st, 4th and 14th Amendments of the U.S. Constitution require some sort of government action.

3. In Paragraph two (2) of the SOF plaintiff asserts that defendant Mayor Ginther has another

discriminatory policy that allows plaintiff to be deni~ his liberty, privacy and equal 1reatment.

4. Specifically, the law of the land states cigarette smokers ~ust go outside and go 20 feet from

any entrance to smoke their dope. 5. There's no provision in the event of inclimate weather,

dummystick smokers, foolstick smokers, cancerstick smokers or deathstick smokers can post up

infront an entrance or exit to smoke their dope because, only a du'IIUny or only a/ool would

smoke rat poison, due to the dummystick or foolstick in reality being a cancerstick, from causing

cancer, which means cancersticks in reality are deathsticks because, they cause nothing but death

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6. Therefore, the law forbids dummystick smokers, foolstick smokers, cancerstick smokers,

deathstick smokers, cigarette smokers or whatever one wishes to call them from posting up

within 20 feet of any entrance to do their dope. 7. Moreover, the Surgeon General and the entire

medical profession has posted pure objective, mathematical, factual & actual, peer reviewed

abstracts, affidavits, brochures, booklets, pamphlets, papers, scientific journals, laboratory tests,

scholarly reports, etc certifying that just one whiff of secondhand cigarette smoke is so lethal, it's

been known to cause an infant to go into cardiac arrest and die from SIDS, the majority of the

People in the U.S. got together, and agreed that anything that kills 45,000 citizens every year has

no place in a civilized society. 8. Yet, all of the anti-smoking signs and TV commercials still has

not persuaded cigarette smokers to accord plaintiff, and all other non-cigarette smokers our rights

9. No matter wher plaintiff or any other non-cigarette smoking citizen tries to go downtown---i.e.

to the Police Station, to Court, to the Library, the Hospital, a Park or trying to go and watch the

Blue Jackets Hockey Team or going to an outdoor event like Red, White & Boom or trying to

participate in the annual Veterans Day Parade, defendant Mayor Ginther and his City Council

condones cancerstick smokers violating plaintiff's 1st, 4th and 14th Amendment rights, by

permitting cancerstick smokers to force plaintiff (and all other citiz.ens) to secondhand smoke

their dope, that contains a cocktail of rat poison and SO other CANCER CAUSING chemicals.

10. Plaintiff does not want to be forced to do dope against his will. 11. Further, as previously

stated, pure objective, mathematical, factual & actual, peer reviewed science says cigarette dope

is the worst dope. 12. Cigarette smoking kills 45,000 African American Neegroes every year---

~ming from the Neegroes being misled by former President Barack Obama, and wanting to

argue instead of listening to the expertise of the Surgeon General. 13. If plaintiff were to have a

cigarette smoker stand next to 3 other users---i.e. those who use Opium, Heroin or Weed---then


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 have the users stand infront of the Courthouse and do their dope, the Court will note that the

 cigarette smoker's secondhand smoke would be the most dangerous dope. 14. All of the other

 drugs hav healing qualities, which is why when properly used they are called medicine. 15. It is

 only the abuse of these medicines that causes a health problem. 16. Cigarettes have absolutely

no healing qualities. 17. Cigarettes only KILL people. 18. Yet, for dubious reasons the dope

that kills 45,000 African American Neegroes every year is legal. 19. Thus, inspite of the fact

that defendant Mayor Ginther either knows or should know that secondhand ,::igarette smoke is

detrimental to plaintiff's (and all other citizen's) health, defendant Mayor Ginther continues to

permit cigarette smokers to force plaintiff (and all other citizens) to do dope against his will,

and secondhand smoke a cocktail of rat poison and 50 other CANCER CAUSING chemicals.

20. The aforementioned conduct on the part of defendant Mayor Ginther (and his City Counsel),

amounts to denying plaintiffhis 1st, 4th and 14th Amendment rights. 21. Therefore, the actions

of defendant Mayor Ginther and his City Council should be declared Unconstitutional, and the

Court has all the grounds it needs to issue a (National) Pennsnent I:qjunction prohibiting cigarette

smokers from smoking their dope anywhere in public. 22. Cigarette smokers or who are also

called dummysti.ck smokers or foolstick smokers or cancerstick: smokers or deathstick smokers

(whose dope is the deadliest dope) should no longer be given preferential treatment, by being

the only citizens who can do their dope in public. 23. Further, it's hypocritical for America to

acknowledge the pure objective, mathematical, factual & actual, peer reviewed scientific data of

the Surgeon General, who has certified there is no safe amount of secondhand cigarette smoke,

but America continues to permit cigarette smokers to force non-cigarette smokers to ingest 2nd

hand cigarette smoke against their will. 24. Therefore, plaintiff moves the Court to discharge its

inherent powers, and protect the Constitutional rights ofplaintiff, and other American citizens.


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                     THIRD CLAIM OR CAUSE OF ACTION


                                     Condoned Custom Theory
                                     AGAINST DEFENDANT
                                       Mayor Andrew Ginther



 1. Plaintiff realleges all of the averments made in Claims 1 and 2 and incorporates them by

reference as if fully restated herein. 2. For all the reasons previously setforth in plaintiff's 1st,

and 2nd Causes of Action, defendant Mayor Ginther (and his City Council) can also be held

liable for violating the Condoned Custom Theory. 3. Plaintiff alleges that while acting in his

official and individual capacity pursuant to an unwritten rule, regulation, policy, practice, custom

or promulgated procedure, defendant Mayor Ginther knowingly, pmposefully, willfully and

intentionally joined L.A. Mayor Eric Garcetti and embattled N.Y. Mayor Andrew Cum,:io, and

decided to violate America's righteous illegal immigration laws. 4. While acting in his official

and individual capacity pursuant to an unwritten rule, regulation, policy, practice, custom or

promulgated procedure, defendant Mayor Ginther and his City Council knowingly, purposefully,

willfully and intentionally decided to permit all the members of the Race of Cigarette Smokers to

force plaintiff, and all members of the Race ofNon-Cigarette Smokers to do dope against our

will, by permitting the Race of Cigarette Smokers to go everywhere in public, and force plaintiff,

and all ofthe members of the Race of Non-Cigarette Smokers to secondhand smoke a cocktail

of rat poison and 50 other CANCER CAUSING chemicals. 5. The aforementioned means,

under the Condoned Custom Theory defendant Mayor Ginther and his City Council can be held

liable for the abrogation of plaintiff's 1st, 4th and 14th Amendment rights.




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                   FOURTH CLAIM OR CAUSE OF ACTION

                                   Continuing Violation Theory
                                     AGAINST DEFENDANT
                                      Mayor Andrew Ginther

1. Plaintiffrealleges all ofthe averments made in Claims 1, 2 and 3, and incorporates them by

reference as if fully restated herein. 2. For all of the reasons setforth in plainti1Ps 1st, 2nd and

3rd Causes of Action, defendant Mayor Ginther (and bis City Council) can also be held liable

for violating the Continuing Violation Theory. 3. Plaintiff alleges that while acting in his

official & individual capacity pursuant to an unwritten rule, regulation, policy, practice, custom

or promulgated procedure, defendant Mayor Ginther knowingly, purposefully, willfully and

intentionally joined L.A. Mayor Eric Garcetti and embattled N.Y. Mayor Andrew Cuomo to

violate all of America's righteous illegal immigration laws. 4. Additionally, while acting in his

official and individual capacity pursuant to an unwritten rule, regulation, policy, practice, custom

or promulgated procedure, defendant Mayor Ginther knowingly, purposefully, willfully, and

intentionally decided to permit all those who are members of the Race of Cigarette Smokers to

force plaintiff, and all members of the Race of Non-Cigarette Smokers to do dope against our

will, by permitting all those of the Race of Cigarette Smokers to smoke in public, and force

plaintiff, and all members of the Race ofNon-Cigarette Smokers to secnndband smoke a cocktail

of rat poison and SO other CANCER CAUSING chemicals. S. As stated, the Surgeon General

has certified the.re is no safe amount of secondhand cigarette smoke. 6. One whiff of second

hand cigarette smoke has been known to cause an infant to go into cardiac arrest, and die from a

sudden case of SIDS. 7. The.refore, under the Continuing Violation Theory defendant Mayor

Ginther can be held liable for the abrogation of plaintiff's 1st, 4th and 14th Amendment rights.


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                     FIFTH CLAIM OR CAUSE OF ACTION

                            Violation of Title 42 U.S.C. Section 1981
                                    AGAINST DEFENDANT
                                      Mayor Andrew Ginther

1. Plaintiff re-alleges all ofthe averments made in Claims 1, 2, 3 and 4, and incorporates them by

reference as if fully restated herein. 2. In addition to the many Congregations, Associations,

Federations, Unions or Organi7.ations people align themselves with, plaintiff and most of the

world's population are non-cigarette smokers. 3. So, just like the RI b tyrosine(-) US & H dna

Caucasu,ns consider themselves to be from the White Race, plaintiff's legal theory is that he is

from the Race of all Non-Cigarette Smokers. 4. .Accordingly, when defendant Mayor Ginther

permits the (21 %) Race of Cigarette Smokers to force plaintiff and all others from the (79%)

Race of Non-Cigarette Smokers to do their dope, by forcing the Race ofNon-Cigarette Smokers

to secondhand smoke a cocktail ofrat poison and SO other CANCER CAUSING chemicals,

defendant Mayor Ginther and (his City Council) are in violation of Title 42 USC Section 1981.

S. The statute states ALL citizens must be treated equally as all white persons. 6. Because rich

white citizens have the :financial resources to live far away from the inner-city cigarette smoking

African American Neegroes, rich whites don't have to worry about being forced to secondhand

smoke a cocktail of rat poison and 50 other CANCER CAUSING chemicals. 7. But because

plaintiff is poor, he has to live where the cigarette smoking African American Neegroes live.

8. Thus, after a cigarette smoking )\fri.can American Neegro takes a hit off of his dummysticlc,

and unleashes a cocktail of rat poison and SO other CANCER CAUSING chemicals into the air,

and forces plaintiff to secondhand smoke his dope, means plaintiff is not being treated equally as

white persons who don't live around cigarette smoking African American Neegroes. 9. Thus,

defednant Mayor Ginther can be held liable for the disparate treatment within the inner-city.

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                         SIXTH CLAIM OR CAUSE OF ACTION

                         Violation of Title 42 USC Section 1985 (1) and (2)
                                     AGAINST DEFENDANT
                                       Mayor Andrew Ginther

1. Plaintiffrealleges all the averm.ents made in Claims 1, 2, 3, 4 and S, and incorporates them by

reference as if fully restated herein. 2. For all the reasons setforth in plaintiffs 1st, 2nd, 3rd, 4th

and 5th Causes of Action, defendant Mayor Ginther (and his City Council) can also be held

liable for violating Title 42 USC Section 1985 (1) and (2). 3. Plaintiff alleges that while acting

in his official and individual capacity pursuant to an unwritten rule, regulation, policy, practice,

custom or promulgated procedure, defendant Mayor Ginther knowingly, purposefully, willfully

and intentionally permits members of the Race of Cigarette Smokers to force plaintiff, and all

members of the Race ofNon-Cigarette Smokers to do dope against om will, by permitting the

Race of Cigarette Smokers to go everywhere in public, and do their dope, and force plaintiff, and

all members ofthe Race of Non-Cigarette Smokers to secondhand smoke a cocktail of rat poison

and SO other CANCER CAUSING chemicals. 4.The actions of defendant Mayor Ginther and his

City council violates Title 42 USC Section 1985. 5. When defendant Mayor Ginther and his

City Council permits the (21 %) Race of Cigarette Smokers to force plaintiff, and all members

of the (79%) Race of Non-Cigarette Smokers to do the Cigarette Smoker's dope, by forcing

plaintiff, and all members of the Race ofNon-Cigarette Smokers to secondhand smoke a cocktail

of rat poison and SO other CANCER CAUSING chemicals, certifies that plaintiff continues to

suffer injury. 6. Plaintiff is being deprived of his 1st, 4th and 14th Amendment rights, as well as

his statutory Title 42 U.S.C. Section 198S (1) and (2) rights. 7. Specifically, plaintiffhas

properly alleged that:



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 (A) Two or more people had a meeting of the minds (defendant Mayor Gintl"4r & City Council)
 and forged an agreement, plot, scheme or conspiracy (permitting cigarette smoking in public)



(B) Two or more people (tkfendant Mayor Ginther and his City Council) directly or indirectly
deprived a person (platntiJI) or class of persons (non-cigarette smokers) of equal protection
(tl"4 right to be free from beingforced to secondhand smolr,e a cigarette smoker's dope while in public)



(C) Two or more people (tkfendant Mayor Gintl"4r and his City Council) committed an act in
furtherance of an agreement, plot, scheme, or conspiracy (allowing cigarette smoking in public)


(D) Two or more people (tkfendant Mayor Ginther and his City Council) caused an injury to a
person (plaintiffand all otl"4r citizens) or their property (plaintiffs and all other citizen's 1"4alth)


(E) Two or more people (defendant Mayor Ginther and his City Council) deprived a citizen of
any right (t1"4 right to be.free from betngforced to secondhand amoks rat poi&on) or privilege
(the right to participate in Rsd, White cl: Boom without beingforced to secondhand smoke rat poison).



8. Simply put, plaintiff has properly alleged:


(A) Specific conduct that violated his rights (being forced to secondhand amoks rat poison)
(B) The time (241'1) and place of the misconduct (everywl"4re downtown cl: throughout the City)
(C) Listed all persons who violated plaintiffs rights (all cigarette smoking City employees).



9. Accordingly, plaintiff'has established a valid claim under Title 42 USC Section 1985 (1) & (2)

and asks the court to allow this suit to proceed.




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                   SEVENTH CLAIM OR CAUSE OF ACTION
                              Failure To Perform A Required Duty
                                     AGAINST DEFENDANT
                                       Mayor Andrew Ginther

 1. Plaintiffrealleges all of the averments made in Claims I, 2, 3, 4, 5 and 6, and incorporates

them by reference as if fully restated herein. 2. For all of the reasons listed in plaintiff's 1st,

2nd, 3rd, 4th, 5th and 6th Causes of Action, defendant Mayor Ginther and his City Council can

be held liable for failing to perform a required duty. 3. Specifically, while acting in his official

and individual capacity pursuant to an unwritten rule, regulation, policy, practice, custom or

promulgated procedure, defendant Mayor Ginther knowingly, purposefully, willfully and

intentionally joined L.A. Mayor Eric Garcetti and N.Y. Mayor Andrew Cuomo, and violated

America's righteous illegal immigration laws. 4. Then, while acting in his official & individual

capacity pursuant to an unwritten rule, regulation, policy, practice, custom or promulgated

procedure, defendant Mayor Ginther (and his City Council) knowingly, purposefully, willfully

and intentionally permits all those who are members of the Race of Cigarette Smokers to force

plaintiff, and all members of the Race of Non-Cigarette Smokers to do dope against our will, by

permitting those who are members of the Race of Cigarette Smokers to go everywhere in public,

and force plaintiff, and all members of the Race of Non-Cigarette Smokers to secondhand

smoke a cocktail of rat poison and 50 other CANCER CAUSING chemicals, which causes

plaintiff, and all members of the Race of Non-Cigarette Smokers to suffer life threatening

health problems. 5. Thus, defendant Mayor Ginther and his City Council can be held liable for

failing to abide by the S.Ct's ruling in Monell v Departwdlt of Social Services. 6. It states

government agencies must abide by promulgated procedures (the law of the land) and entities

must perform their required duties (protect & serve). 7. Defendant Mayor Ginther violated it.

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                    EIGHTH CLAIM OR CAUSE OF ACTION


             Violation of the 1st, 4th and 14th Amendments of the U.S. Constitution


                                     AGAINST DEFENDANT
                                         Joe Villavicencio



1. Plaintiffrealleges all the averments made in Claims 1, 2, 3, 4, S, 6 and 7, and incorporates

them by reference as if fully restated herein. 2. Defendant Joe Villo is being sued in his official

and individual capacity because, as a slumlord (and contrary to law) Villo rents dwellings that

are not safe, secure, clean, and smoke free. 3. Specifically, defendant Villo attempted but failed

to separate a single occupant dwelling so he could make more money renting 2 units instead of 1.

4. As verified by video, in order to access the water pipes Villo performed shotty carpentry work,

which left a 2-3 inch gap along the baseboard (behind the toilet) in plaintiff's bathroom, that

allows whomever to see into the bathroom ofthe unit downstairs. 5. Because the carpet in the

apartment was old, filthy, nasty, and stained beyond repair, defendant Villo stated he would

replace it within a week. 6. During the initial walk through Villo didn't take plaintiff on a tour

of the upstairs area, he just said it could be used as a bedroom or an attic. 7. Because of the

assurance that all deficiencies would be taken care of within a week, plaintiff signed a year lease.

8. A week later plaintiff decided to check out the upstairs area, and discovered the reason Villo

didn't want to show it to plaintiff. 9. As verified by video, the upstairs area i~ 1minbabitable

because it is filthy, nasty, dirty and filled with discarded trash, and other items. 10. The walls

have huge holes in them, as if someone from the unit next door kicked in the flimsy plywood to

accomplish an unlawful brealcing & entering. 11. Because plaintiff didn't want to pay rent for an


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uninhabitable dwelling, he called defendant Villo and demanded the third floor area be cleaned

and sanitized, and all discarded items, along with the filthy, nasty and stained carpet be removed.

 12. As certified by text messages, defendant Villo stated that within a week he would have one

of his workers named Mickey come over and clean up the upstairs area, and install new carpet.

13. As certified by video, S months have passed by and defendant Villo still bas not replaced the

wom out, filthy, nasty, stained carpet or performed any other promised repairs. 14. In addition

to all of the previous, on 7-1-2021 (at 3:49 a.m). plaintiff was awakened by the SO year old roof

leaking during a thunder storm. 15. To document the problem plaintiff made a video ofthe roof

leakjng and forwarded it to defendant Villo. 16. The next day Villo informed plaintiff he had a

independent contractor come and fix the leak while plaintiff was not at home. 17. But the next

time it rained, plaintiff noted that instead of the leak being fixed it was even worse than before.

18. Plaintiff made a video of the even worse leak and forwarded it to Villo. 19. As verified by

text messages, Villo stated he would have an expert roofer come and fix it. 20. A month later no

expert ever came, instead, defendant Villo rented the downstairs unit to a chain smoking Muslim

from Somali, whose name (as certified by text messages) Villo refused to divulge in an attempt

to hinder suit 21. Because of the shared airspace, the Somalian's deadly secondhand cigarette

smoke comes up through the gaps in the walls, and completely fills up plaintiff's unit with a life

threatening cocktail of rat poison and SO other CANCER CAUSING chemicals. 22. As verified

by text messages plaintiff brought the problem to the attention of defendant Villo, who stated

(after consulting with his attorney) he was told that as a condition to plaintiff being granted

housing, plaintiffhad to give up his right to a smoke free (shared airspace) dwelling, and would

have to accept being forced to secondhand smoke, which causes plaintiff serious health problems

23. Fed up with Villo's procrastination plaintiff contacted the Housing Code Enforcement branch


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of the Columbus Health Department. 24. Because Villo has had numerous complaints filed

against him and has repeatedly been cited for renting dwellings that are not safe, secure, clean,

and smoke free, and has been cited for luring tenants into signing a lease on the pretense Villo

would fix whatever wasn't working before the tenant moved, the Health Department sent a

Housing Code Inspector to plaintiff's abode. 2S. After the Housing Inspector Zach McCandish

111 North Front Street Columbus, Ohio 4321S ZKMcCandishtmColumbus.gov (614) 64S-0326

came into plaintiff's apartment, and videotaped all ofthe latest infractions, defendant Villo was

again cited for being a slumlord, cited for failing to resolve all of the previous problems he was

ordered to fix, and was ordered to make all needed repairs within thirty days or per the written

notices placed on plaintiff's door, defendant Villo would be fined 1,000 dollars, and imprisoned

for 180 days. 26. To certify everything plaintiff asserts, the Court is asked to note that plaintiff

sent Villo a text message everytime defendant John Doe (and his partners in crime) downstairs

smoked, and caused plaintiff to inhale deadly secondhand cigarette smoke, and forced plaintiffto

have to go outside in the heat, rain or cold in order to breath, and that the Housing Inspector will

verify when he came to perform his Inspection (on 8-12-2021) plaintiff was standing outside,

and had all of his windows, and door opened because, defendant John Doe and his partners in

crime were smoking, and caused plaintiff's apartment to be completely :filled up with deadly

secondhand cigarette smoke, defendant Villo responded by blocking plaintiff from being able to

send him anymore texts, and so, plaintiff called the Housing Inspector and informed him that

plaintiff put his rent in escrow and was filing suit against Villo. 27. The actions of defendant

Villo violate plaintiff's 1st, 4th and 14th Amendment rights. 28. Thus, in the interests ofjustice,

plaintiff moves the Honorable Court to allow the Marked Master Prosecution ofVillo to proceed.




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                    NINEffl CLAIM OR CAUSE OF ACTION
                                     Condoned Custom Theory


                                     AGAINST DEFENDANT
                                          Joe Villavicencio


1. Plaintiff realleges all the averments made in Claims 1, 2, 3, 4, 5, 6, 7 and 8, and incorporates

them by reference es if fully restated herein. 2. For all of the reasons setforth in plaintiff's 8th

Cause of Action, defendant Villo can also be held liable under the Condoned Custom Theory.

3. Plaintiff alleges that while acting in his official and individual capacity pmsuant to an

unwritten rule, regulation, policy, practice, custom or promulgated procedure, defendant Villo

knowingly, pmposefully, willfully and intentionally decided to permit all the members ofthe

Race of Cigarette Smokers to force plaintiff, and all those of the Race of Non-Cigarette Smokers

to do dope against our will, by permitting the Race of Cigarette Smokers to move into a public

(shared airspace) dwelling, and force plaintiff, and those of the Race of Non-Cigarette Smokers

to secondhand smoke a cocktail of rat poison and 50 other CANCER CAUSING chemicals.

4. By adhering to an unwritten rule, regulation, policy, practice or custom to violate plaintiff's

1st, 4th and 14th Amendment rights means defendant Villo can be righteously be prosecuted

under the Condoned Custom Theory.




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                     TENTH CLAIM OR CAUSE OF ACTION
                                   Continuing Violation Theory


                                     AGAINST DEFENDANT
                                          Joe Villavicencio



1. Plaintiffrealleges all of the averments made in Claims 1, 2, 3, 4, S, 6, 7, 8 and 9, and

incorporates them by reference as if fully restated herein. 2. For all of the reasons setforth in

plaintiff's 8th and 9th Causes of Action, defendant Villo can also be prosecuted under the

Continuing Violation Theory. 3. Plaintiff alleges that while acting in his official & individual

capacity pursuant to an unwritten rule, regulation, policy, practice, custom or promulgated

procedure, defendant Villo knowingly, purposefully, willfully and intentionally decided to

permit all members of the Race of Cigarette Smokers to move into a public (shared airspace)

dwelling, and force plaintiff, and all members of the Race of Non-Cigarette Smokers to do dope

against our will, by permitting the Race of Cigarette Smokers to force plaintiff, and all members

of the Race ofNon-Cigarette Smokers to second.band smoke a cocktail ofrat poison and 50 other

CANCER CAUSING chemicals, which injures plaintiffby causing him severe health problems.

4. Even after bringing to Villo's attention that his actions violated clearly established law, Villo

still refused to take proper remedial action. S. Instead, defendant Villo smiled at, winked at, and

nodded his head in approval of the wrongdoing. 6. After being given several written complaints

about the misconduct, defendant Villo knowingly, purposefully, willfully & intentionally turned

his head away from it. 7. By permitting wrongdoing to continue pursuant to an unwritten rule,

regulation, policy, practice, custom or promulgated procedure (in order to make more money)

means defendant Villo can be held liable under the Continuing Violation Theory.


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                  ELEVENTH CLAIM OR CAUSE OF ACTION
                                       Unenforceable Contract
                                     AGAINST DEFENDANT
                                    Defendant Joe Villavicencio

1. Plaintiff'realleges all of the averments made in Claims 1, 2, 3, 4, 5, 6, 7, 8, 9 and 10, and

incorporates them by reference as if fully restated herein. 2. As previously stated in Claims 8, 9

and 10, defendant Villo is being sued in his official and individual capacity because, as a

slumlord (and contrary to law) Villo takes advantage ofunsuspecting homeless citizens, and

rents dwellings that are not safe, secure, clean, and smoke free. 3. As previously stated, the

defendant attempted but failed to separate a single occupant dwelling so he could make more

money renting two units instead of one. 4. As verified by the video that plaintiff and the

Housing Inspector took to justify citing Villo for numerous Housing Code violations, in order to

have easy access to the water pipes Villo performed shotty carpentry work, which left a 2-3 inch

gap along the baseboard (behind the toilet) in plaintiff's bathroom, that allows whomever to see

into the bathroom ofthe unit downstairs. 5. Because the carpet in the apartment was old, filthy,

nasty and stained totally beyond repair, defendant Villo stated he would replace it within a week.

6. During the initial walk through Villo didn't take plaintiff'to view the 3rd floor, he just said it

could be used as a bedroom or an attic. 7. Because of the assurance that all deficiencies would

be taken care of within a week, plaintiff signed a year lease. 8. A week later plaintiff decided to

check out the third floor area, and saw why Villo didn't want to show it plaintiff. 9. As certified

by the citation the Housing Inspector lodged against Villa, the 3rd floor is uninhabitable because

it is filthy, nasty, and dirty, and is filled with discarded trash, and other miscellaneoUB items, and

the North & West walls have large holes in them, su:rnrning il-om someone next door kicking in

the flimsy plywood to perpetrate an unlawful breaking & entering. 10. Because plaintiff didn't

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want to pay rent for a unit he couldn't completely use, he called defendant Villo and demanded

that the upstairs area be cleaned and saniti7.ed, and all of the discarded items, including the old,

filthy, nasty, and stained carpet be removed. 11. As certified by text messages, defendant Villo

~ that within a week he would have one of his workers named Mickey come over and clean

up the 3rd floor, and install new carpet. 12. As certified by video, five months have now passed

and defendant Villo still has not replaced the filthy, nasty, and stained carpet or performed any of

the other promised repairs. 13. In addition to the previous, on 7-1-2021 (at 3:49 a.m.) plaintiff

was awakened by the SO year old roofleaking during a rain storm. 14. To document the problem

plaintiffmade a video of the roof leaking, and forwmded it to defendant Villo around 4:00 a.m.

15. The next day, defendant Villo informed plaintiffhe had an independent contractor come fix

the leak while plaintiff was away. 16. But the next time it rained, plaintiff discovered instead of

the leak being fixed it was worse. 17. Thus, plaintiff made another video of the even worse leak

and forwarded it to defendant Villo. 18. As verified by text messages, defendant Villo stated he

would have an expert roofer come and fix the leak 19. A month later nothing has happened.

20. Instead, defendant Villo decided to rent the downstairs to a chain-smoking Muslim from

Somalia, whose name (as certified by text messages) Villo refused to diwlge in an attempt to

hinder this suit being filed. 21. Because of the shared airspace, the Somalian's deadly second

hand cigarette smoke comes up through the gaps in the walls, and completely fills up plaintiff's

apartment with a life tbrearenjng cocktail of rat poison and SO other CANCER CAUSING

chemicals. 22. As verified by text messages plaintiff brought the problem to the attention of

defendant Villo, who stated (after consulting with his attorney) he was told that as a condition

to plaintiff being granted housing, plaintiff had to give up his right to a smoke free shared air-

space dwelling, and would have to accept being forced to secondhand smoke, which continues to


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injure plaintiff, by causing plaintiff to suffer serious health problems. 23. Fed up with Villa's

procrastination plaintiff contacted the Housing Code Enforcement branch ofthe Columbus

Health Department. 24. Because defendant Villo has had numerous complaints filed against

him, bas been cited numerous times for renting dwellings that are not safe, secure, clean, and

smoke free, and has been cited for luring tenants into signing a lease on the pretense Villo would

fix whatever wasn't working before the tenant moved in, the Health Department sent Inspector

Zach McCandish 111 North Front Street Columbus, Ohio 43215 ZKMcCandish1iColumbus.2ov

(614) 645-0326 to come into plaintiff's apartment, and videotaped all of the latest infractions,

which led to defendant Villo again being cited for being a slumlord, again being cited for failing

to resolve all of the previous problems he was ordered to fix, and again was ordered to make all

needed repairs within 30 days or per the written notice placed on plaintiff's door, Villo would be

tined 1,000 dollars and imprisoned for 180 days. 26. To certify everything plaintiff asserts, the

Court is asked to note that plaintiff sent defendant Villo a text everytime defendant John Doe and

his partners in crime smoked, and caused plaintiff to inhale his deadly secondhand cigarette

smoke, and forced plaintiffto have to go outside in the heat, rain or cold (in order to breath), and

sent Villo a text informing him the Housing Inspector would verify when he came to perform his

Inspection (on 8-12-2021) plaintiff was standing outside, and had all of his windows and door

opened because, defendant John Doe's partners in crime were downstairs smoking, which caused

plaintiff's apartment to be completely filled up with deadly secondhand cigarette smoke, which

caused the Inspector to cough, and state that plaintiff would have to go to Court to do something

about the smoking issue as well, but until then he had to perform his Inspection, and deal with

"one thing at a time," defendant Villo responded by blocking plaintiff from being able to send

him anymore messages, and so, plaintiff called the Housing Inspector and informed him that



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plaintiffput his rent in escrow & was filing a lawsuit. 27. As the court very well knows, it's

unlawful to take advantage of homeless, pennyless, jobless, hopeless, and worthless feeling

citizens by manipulating them into signing an unenforceable contract, which obligates

disenfranchised citizens to accept substandard housing; nor does Villo have the right to take

advantage of citizens like plaintiff, who relocated (from California) in order to finish his

education at Thee Ohio State University, and as such, is in desperate need of affordable housing.

28. Because defendant Villo permits his chain smoking tenant (defendant John Doe) to unleash

the Ugly White Monster---a white cloud of cigarette smoke that contains a cocktail of rat poison

and 50 other CANCER CAUSING chem.icals---which allows Villo to make mo money renting

2 units instead of 1 but infringes on the rights of plaintiff, by unlawfully mandating that as a

condition of being granted housing, plaintiff has to give up the right to a safe, secure, clean, and

smoke free (shared airspace) dwelling, and plaintiff has to accept being forced to inhale deadly

secondhand cigarette smoke or in order to breathe, plaintiff will have to go out in the heat, rain or

cold, which means, in addition to all of the other Mau-auh Kir-roo (True of Voice / Justified)

allegations lodged against defendant Villo by the Marked Master Prosecutor, defendant Villo can

also be held liable for trying to enforce an unenforceable contract.


                   TWELTH CLAIM OR CAUSE OF ACTION
                           Intentional Infliction of Emotional Distress
                                    AGAINST DEFENDANT
                                        Jose Villavicencio

1. Plaintiffrealleges all of the averments made in Claims 1, 2, 3, 4, S, 6, 7, 8, 9, 10 and 11, and

incorporates them by reference as if fully restated herein. 2. For all of the reasons stated in

Claims 8, 9, 10, 11 and 12 of the Complaint, defendant Villo is being sued in his official and

individual capacity because (contrary to law) Villo takes advantage ofunsuspecting homeless

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 citizens, and rents dwe11ings that are not safe, secure, clean and smoke free. 3. As previously

 stated, defendant Villo attempted but failed to separate a single occupant dwelling so he could ·

make more money renting two units instead of one. 4. In order to easily access the water pipes,

Villo performed shotty carpentry work, which (as verified by video) left a 2-3 inch gap along

the baseboard (behind the toilet) in plaintiff's bathroom, that allows whomever to see into the

bathroom ofthe unit downstairs. S. As certified by video, because the carpet in plaintiff's unit is

filthy, nasty & stained beyond repair, Villo stated he would replace it (within a week) but didn't.

6. During the initial walk through Villo didn't take plaintiff to view the 3rd floor, he just said it

could be used as a bedroom or an attic. 7. Because of the assurance that all of the deficiencies

would be taken care of within a week, plaintiff signed a one year lease. 8. A week later plamtiff

decided to check out the upstairs area and discovered the reason Villo didn't want to show it is

because (as certified by video) the third floor i~ uninhabitable due to being filthy, nasty, dirty,

and is filled with discarded trash, and other items---which caused plaintiffto develop migraine

headaches. 9. Even though the walls on the North and West sides have a huge hole in them, as

if someone from the unit next door kicked in the flimsy plywood to accomplish an unlawful

breaking & entering, defendant Villo refused to clean and sanitize the 3rd floor area, and refused

to repair the walls. 10. So, anyone can gain unlawful access to plaintiff's apartment by entering

the dwelling next door, going upstairs, climbing through the holes of the attic walls, and entering

plaintiff's apartment, which is exactly what happened and resulted in some of plaintiff's personal

property being stolen---which caused plaintiff to suffer even more mental and emotional distress.

11. As verified by video, to ensure plaintiff's apartment wouldn't be burglarized again, plamtiff

put a padlock on the door to the third floor. 12. Next, on 7-1-2021 ( at 3:49 a.m.) plaintiff was

awakened by the SO year old roof leaking during a rain storm--which caused plaintiff even more


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 mental and emotional distress from migraine headaches, being filled with righteous indignation,

 and suffering deep depression. 13. To document the problem plaintiff made a video of the roof

 leaking, and forwarded it to defendant Villo. 14. The next day Villo informed plaintiff that he

 had an independent contractor come and fix the leak while plaintiff wasn't home. 15. But the

next time it rained, instead of the leak being fixed it was worse---which caused plaintiff even

more mental and emotional distress. 16. To document the problem plaintiffmade a video of the

even worse leak, and forwarded it to defendant Villo, who stated he would have an expert roofer

come and fix the leak the next day. 17. But Villo again failed to honor his word---which caused

plaintiff to suffer even more from the intentional infliction of mental and emotional distress, and

caused plaintiffto have to go to the Hospital and obtain medication to combat the onset of body

aches, and more migraine headaches. 18. Villo then rented the downstairs to a chain-smoking

Muslim from Somali, whose name (as certified by text messages) Yillo refused to divulge in an

attempt to hinder suit from being filed. 19. As previously stated, because ofthe shared airspace

the Snrnalian's deadly secondhand cigarette smoke comes up through the gaps in the walls, and

completely fills up plaintiff's apartment with a life threatening cocktail of rat poison and 50 other

CANCER CAUSING chemicals---which caused plaintiff to suffer more emotional distress.

20. After bringing the problem to defendant Villo's attention, defendant Villo stated that after

consulting with his attorney, as a condition to plaintiff being granted housing, plaintiff had to

give up his right to a smoke free (shared airspace) dwelling, and would have to accept being

forced to secmdhand smoke OR in order to breath, plaintiff would have to go and stand outside

in the heat, rain or cold, which caused plaintiff to suffer more from the intentional infliction of

mental, physical, and emotional distress---in the form ofbeing filled with righteous indignation,

coughing, sneezing, suffering excruciating chest pains, due to plaintiff's veins & arteries being


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constricted, which caused plaintiff to not be able to breath. 21. Additionally, plaintiff suffered

more migraine headaches & broke out in painful hives, which caused plaintiff to have to scratch

the perfuse itching, and douse his skin with an alcohol based saniti2.er--which led to plaintiff

suffering even more from the intentional infliction of emotional distress. 22. Therefore, in

addition to the other Mau-auh Kir-roo (True of Voice/ Justified) allegations lodged against

defendant Villo by the Marked Master Prosecutor, defendant Villo can also be held liable for

causing plaintiffto suffer from the intentional infliction of emotional distress.




                THIRTEENTH CLAIM OR CAUSE OF ACTION
                                         Pain and Suffering


                                     AGAJNST DEFENDANT
                                          Joe Villavicencio


1. Plaintiffrealleges all the averments made in Claims 1, 2, 3, 4, S, 6, 7, 8, 9, 10, 11 and 12, and

incorporates them by reference as if fully restated herein. 2. As stated in Claims 8, 9, 10, 11 and

12 of the Complaint, defendant Villo is being sued in his official and individual capacity because

(contrary to law) Villo takes advantage of unsuspecting homeless citizens, and rents dwellings

that are not safe, secure, clean, and smoke free. 3. Additionally, Villo attempted but failed to

separate a single occupant dwelling, so he could make more money renting 2 units instead of 1.

4. As verified by video, to easily access the water pipes Villo performed shotty carpentry work,

which left a 2-3 inch gap along the baseboard (behind the toilet) in plaintiff's bathroom, that

allows whomever to see down into the bathroom of the unit downstairs. S. Because the carpet in

plaintiff's apartment unit is old, filthy, nasty, dirty, and stained beyond repair, defendant Villo


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 stated he would replace it (within a week) but didn't. 6. During the initial walk through Villo

 didn't take plaintiffto view the 3rd floor, he just said it could be used as a bedroom or an attic.

 7. Because ofthe assurance that all deficiencies would be taken care of within a week, plaintiff

 signed a one year lease. 8. A week later, plaintiff decided to check out the 3rd floor area and

discovered the reason Villo didn't want to show it is because (as certified by video) the third

floor area i11 uninhabitable, due to being filthy, nasty, dirty, and is filled with discarded trash, and

other items---all of which caused plaintiffrighteous indignation and develop migraine headaches.

9. Even though the walls on the North and West sides have a huge hole in them, as if someone

from the unit next door kicked in the plywood to accomplish an unlawful breaking Jt entering,

defendant Villo refused to clean and saniti7.e the upstairs area, and refused to repair the holes in

the walls. 10. Thus, anyone can gain unlawful access to plaintifrs apartment by entering the

dwelling next door, going upstairs, climbing through the holes in the attic walls, and entering

plaintifrs apar1ment, which is exactly what happened and resulted in some of plaintiff's personal

property being stolen---which caused plaintiff more mental pain & suffering. 11. As verified by

video, plaintiff had to put a lock on the door that leads to the 3rd floor. 12. In addition to all of

the previous, on 7-1-2021 ( at 3:49 a.m.) plaintiff was awakened by the SO year old roof leaking

during a rain storm.---which caused plaintiff more pain & suffering ~temrning being filled with

righteous indignation, suffering deep depression, and more migraine headaches. 13. Plaintiff'

document the problem by making a video ofthe roof leaking and forwarded it to defendant Villo.

14. The next day Villo informed plaintiff'that he had an independent contractor come and fix the

leak while plaintiff wasn't home. 15. But the next time it rained, instead of the leak being fixed

it was worse---which caused plaintiff' even more mental and emotional pain & suffering. 16. So,

plaintiff made a video of the even worse leak, and forwarded it to defendant Villo, who stated he


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would have an expert come and fix it the next day. 17. Again Villo failed to honor his word---

which inturn caused plaintiff even more mental and emotional pain & suffering. 18. Villo then

rented the downstairs unit to a chain smoking Somali Muslim, whose name Villo refused to give

to plaintiff in an attempt to hinder this suit from being filed. 19. Because of the shared airspace,

the Somalian's deadly secondhand cigarette smoke comes up through the gaps in the walls, and

completely fills up plaintiff's apartment with a life threatening cocktail of rat poison and 50 other

CANCER CAUSING chemicals. 20. Because plaintiff is extremely allergic to cigarette smoke,

being forced to secondhand smoke it caused plaintiff even more mental, emotional, and physical

pain & suffering. 21. After bringing the problem to defendant Villa's attention, defendant Villo

stated that after consulting with his attorney, as a condition to plaintiff being granted housing,

plaintiff had to give up his right to a smoke free shared airspace dwelling, and would have to

accept being forced to secondhand smoke OR in order to breath, plaintiff would have to go and

stand out in the heat, rain or cold-which caused plaintiffto suffer more from the intentional

infliction of mental, emotional and physical pain & suffering, in the form of plaintiff becoming

filled with more righteous indignation, coughing, sneezing and suffering excruciating chest pains

irtemrning from plaintiff's veins & arteries being constricted, and caused plaintiffto not be able

to breath. 22. Plaintiff also developed more migraine headaches and broke out in painful hives,

which caused plaintiff even more mental, emotional and physical pain & suffering. 23. So, in

addition to all the other Mau-auh Kir-roo (True of Voice / Justified) allegations lodged against

defendant Villo by the Marked Master Prosecutor, defendant Villo can also be held liable for

causing plaintiff extreme pain & suffering.




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                FOURTEENTH CLAIM OR CAUSE OF ACTION


             Violation of the 1st, 4th and 14th Amendmeuts of the U.S. Constitution

                                     AGAINST DEFENDANT
                                            John Doe



1. Plaintiffrcalleges all the averments made in Claims 1, 2, 3, 4, S, 6, 7, 8, 9, 10, 11, 12 and 13,

and incorporates them by reference as if fully restated herein. 2. Defendant John Doe is a

purported (Tl dna) Somali African American male refugee. 3. In July of 2021, Defendant

John Doe moved into the apartment downstairs. 4. Because the defendant is a chain smoker, he

causes deadly secondhand cigarette smoke to seep through the cracks & crevices, which causes

plaintiff's apartment to completely fill up with harmful secondhand cigarette smoke. S. Thus,

plaintiff asked defendant John Doe to obey the law, and refrain from smoking in the building

because, due to defendant Villo's failure to completely seal off plaintiff's unit from defendant

John Doe's unit, everytime defendant John Doe and his chain smoking friends smoke their dope,

their deadly secondhand cigarette smoke that contains a cocktail of rat poison and SO other

CANCER CAUSING chemicals, completely fills up plaintiff's apartment, rendering it totally

uninhabitable. 6. In an attempt to air out his apartment, plaintiff is forced to open up all of his

windows, and go stand out in the heat, rain and/or cold. 7. In response to plaintiff's request the

Somali said it's a condoned custom for Muslims to smoke sweetened, menthol flavored tobacco.

8. Defendant John Doe then went on to say, because Muslims have to accept that Americans eat

pork---which is against Muslim law---Americans have to accept that Muslims smoke tobacco.

9. In response to the crude colloquy plaintiff stated, whenever plaintiffeats a braut, a pork chop

or a BBQ rib, plaintiff doesn't force Muslims or anyone else to ingest the pork against their will.
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 10. But every time defendant John Doe and his partners in crime fire up their dope they violate

plaintiff's rights, by forcing plaintiff to secondhand smoke the dope that the Surgeon General has

 certified is the most addictive dope, and the dope that kills 45,000 African American Neegroes

every year. 11. Defendant John Doe walked away, and refused to obey the law. 12. Instead,

defendant John Doe continues to smoke his deathsticks, which injures plaintiff by causing him

serious health problems. 13. In light of all the previous, defendant John Doe can be held liable

for violating plaintiff's 1st, 4th and 14th Amendment rights.




               FD-IH'fEENTH CLAIM OR CAUSE OF ACTION

                                    Condoned Custom Theory

                                    AGAINST DEFENDANT
                                             John Doe


1. Plaintiffrealleges all averments made in Claims 1, 2, 3, 4, S, 6, 7, 8, 9, 10, 11, 12,13 and 14,

incorporates them by reference as if fully restated herein. 2. For all the reasons setforth in

Claims 8, 9, 10, 11, 12, 13 and 14 of the Complaint, it can be said that defendant John Doe's

actions were perpetrated pursuant to an unwritten rule, regulation, policy, practice, custom or

promulgated procedure. 3. Thus, defendant John Doe can be held liable for violating plaintiff's

rights under the Condoned Custom Theory.




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                SIXTHfEENTH CLAIM OR CAUSE OF ACTION

                                    Continuing Violation Theory

                                      AGAJNST DEFENDANT
                                         Defendant John Doe

1. Plaintiffrealleges all averments in Claims 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14 and 15, and

incorporates them by reference as if fully restated herein. 2. For all the reasons setforth in

Claims 8, 9, 10, 11, 12, 13, 14 and 15, it can be said that defendant John Doe's unlawful actions

were done pursuant to an unwritten rule, regulation, policy, practice, custom or promulgated

procedure. 3. After bringing defendant John Doe's unlawful behavior to the attention of

defendant Villo, instead of Villo taking proper remedial action, defendant Villo acquiesced to the

wrongdoing by smiling at it, winlcjng at it, nodding his head in approval of it, and by turning his

head completely away from the wrong. 4. By acquiescing to the wrongdoing, Villo could keep

malcjng more money renting two units instead of one. S. In an attempt to absolve himself of

accountability defendant Villo stated (after consulting his attorney) he was told that because

cigs are legal, as a condition to being granted, housing plaintiff had to give up his right to a

smoke~frec (shared airspace) dwelling, and plaintiff had to accept being forced to secondhand

smoke or in order to breath, plaintiff would have to go outside and stand in the heat, rain or cold.

6. Thus, as the Court can see, plaintiff continues to be injured by defendant John Doe continuing

to violate plaintiff's 1st, 4th and 14th Amendment rights. 7. Additionally, plaintiff's food has to

be thrown away because of being contaminated with the cancer causing chemicals in cigarettes.

8. Plaintiff's clothes too have to be thrown away because of being infected with 2nd hand smoke.

9. In light of all the aforementioned it cannot be said plaintiff has failed to state a cause of action.

10. Thus, defendant John Doe should also be held liable under the Continuing Violation Theory.

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               SEVENTEENTH CLAIM OR CAUSE OF ACTION
                           Intentional Infliction of Emotional Distress
                                     AGAINST DEFENDANT
                                              John Doe

 1. Plaintiff realleges all of the averments in Claims 1-16 and incorporates them by reference as if

 fully restated herein. 2. For all of the reasons stated in Claims 13 through 16 of the Complaint,

defendant John Doe is being sued in his individual capacity. 3. Defendant John Doe is said to a

(Tl dna) Somali Muslim male refuges. 4. Even though the U.S. Supreme Court decided that a

citizen's name, rank and serial number is public information, after giving defendant Villo notice

of suit Villo still refused to give plaintiff defendant John Doe's name---in an attempt to hinder

this suit from being filed. 5. As a result, plaintiff is forced to refer to the defendant as John Doe.

6. However, after propounding discovery plaintiff will be able to provide the Court with this

defendant's real name. 7. Until then, in July of 2021 defendant John Doe moved into the

(shared airspace) unit below plaintiff. 8. Because defendant John Doe chain smokes cigarettes

he causes deadly secondhand cigarette smoke to seep up through the cracks and crevices, which

causes plaintiff's apartment to completely :till up with harmful secondhand cigarette smoke.

9. Thus, plaintiffpolitely asked defendant John Doe to obey the law, and refrain from smoking in

the shared airspace building because, defendant Villo failed to completely seal off plaintiff's unit

from his unit, and so everytime the defendant and his chain smoking friends smoke their dope---

their deadly secondhand cigarette smoke that contains a cocktail of rat poison and SO other

CANCER CAUSING chemicals---completely fills up plaintiff's apartment, rendering it totally

uninhabitable, which causes plaintiff emotional distress. 10. To air out his apartment, plaintiff is

forced to open up all of his windows and go stand out in the heat, rain or cold, which causes

plaintiff even more emotional distress. 11. Plaintiff suffers more from the intentional infliction

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 of emotional distress because, he pays rent but is denied his 1st Amendment rights of liberty, is

 denied his 4th Amendment rights of privacy, and his 14th Amendment rights of due process.

 12. In response to the request to refrain from smoking in the shared airspace building, a now

 irritated defendant John Doe stated it is a condoned custom for Muslims to smoke sweetened,

 menthol flavored tobacco. 13. Defendant John Doe went on to say, Muslims have to accept that

 Americans eat pork--which is against Muslim law--so Americans have to accept that Muslims

 smoke tobacco. 14. In response to the crude colloquy plaintiffreplied, whenever plaintiffeats a

 braut, a pork chop or a B.B.Q. rib, plaintiff doesn't force Muslims or anyone else to eat pork

 against their will. IS. But everytime defendant John Doe fires up his cigarette dope he violates

plaintiff's rights, by forcing plaintiffto secondhand smoke his dope that the Surgeon General has

certified is the most addictive dope, and the dope that kills 4S,000 African American Neegroes

each year.   16. Instead of conceding, and obeying the law, the now enraged defendant John Doe

walked off. 17. To cause plaintiff to suffer even more intentional mental, emotional & physical

anguish, defendant John Doe and his partners in crime started smoking even more. 18. Because

defendant John Doe and his partners in crime thought it was.funny they would laugh everytime

plaintiff wu forced to open his windows, and go stand out in the heat, rain or cold, no matter if it

was 1:00 a.m. to 6 a.m. / 7:00 a.m. to 12 noon/ 1:00 p.m. to 6:00 p.m. / 7:00 p.m. to 12 mid.night,

which caused plaintiff to suffer even more from the intentional infliction of emotional distress.

19. As previously stated, everytime defendant John Doe forced plaintiffto secondhand smoke his

cigarette dope, it caused plaintiff's veins & arteries to constrict-as a defense mechanism to keep

out the rat poison and SO other CANCER CAUSING chem.icals---that caused plaintiff to suffer

bouts of cnugbjng, sneezing, and excruciating chest pains, which caused plaintiff to not be able

to breath. 20. The secondhand cigarette smoke also caused plaintiff to break out in hives, which



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 caused plaintiff to have to scratch and douse them with an alcohol-based sanitizer, then go to the

 Clinic, which led to plaintiff suffering more from the intentional infliction of emotional distress.

 21. Plaintiff also suffered more migraine headaches from having to ponder the harm defendant

 John Doe was doing to plaintiff's health. 22. After bringing defendant John Doe's unlawful

 behavior to the attention of defendant Villo, instead of Villo taking proper remedial action, Villo

 acquiesced to the wrongdoing by smiJing llt it, winking at it, nodding his head in approval of it,

 and tu.ming his head away from the wrongdoing. 23. By acquiescing to the wrongdoing Villo

 could keep making more money renting two units instead of one. 24. To absolve himself from

accountability defendant Villo stated (after consulting his attorney) he was told because cigs are

legal (as a condition to plaintiff being granted housing) plaintiff had to give up his right to a

~oke free shared airspace dwelling, and plaintiff had to accept being forced to secondhand

smoke OR in order to breath plaintiff would have to go and stand out in the heat, rain or cold.

25. The comments of defendant Villo in response to the unlawful conduct of defendant John Doe

caused plaintiff to suffer more from the intentional infliction of emotional distress. 26. The

actions of defendant John Doe of violating the law, and thinking it wasfunny to purposely smoke

and cause plaintiffto suffer from the intention infliction of emotional distress was cold, callous,

and shocking. 25. Therefore, because all of the allegations the Marked Master Prosecutor has

lodged against defendant John Doe are Mau-auh Kir-roo (True of Voice / Justified), the Court

is asked to also hold defendant John Doe liable for the intentional infliction of emotional distress.

26. Additionally, because defendant John Doe and his gang of ruffians thought it wasfunny to

cause plaintiffto suffer all the mental, emotional, and physical pain they forced upon plaintiff,

plaintiff humbly moves the Court to allow this suit to proceed. 27. It will show the defendant

John Doe there indeed is help for the widow's son. 28. And so the Comt is moved to act.


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              EIGH'l'H1'E.ENTH CLAIM OR CAUSE OF ACTION
                                        Pain and Suffering
                                     AGAINST DEFENDANT
                                              John Doe

1. Plaintiff realleges all ofthe averments in Claims 1-17 and incorporates them by reference as if

fully restated herein. 2. For all of the reasons stated in Claims 14 through 17 of the Complaint,

defendant John Doe is being sued in his individual capacity. 3. Defendant John Doe is said to a

(Tl dna) Somali Muslim male refuges. 4. Even though the U.S. Supreme Comt decided that a

citizen's name, rank and serial number is public information, after giving defendant Villo notice

of suit Villo still refused to give plaintiff defendant John Doe's name---in an attempt to hinder

this suit from being filed. 5. As a result, plaintiff is forced to refer to the defendant as John Doe.

6. However, after proponndjng discovery plaintiff will be able to provide the Court with this

defendant's real name. 7. Until then, in July of 2021 defendant John Doe moved into the

(shared mpace) unit below plaintiff. 8. Because defendant John Doe chain smokes cigarettes

he causes deadly secondhand cigarette smoke to seep up through the cracks and crevices, which

causes plaintiff's apartment to completely fill up with harmful secondhand ~igarette smoke.

9. Thus, plaintiff politely asked defendant John Doe to obey the law, and refrain from smoking in

the shared mpace building because, defendant Villo failed to completely seal off plaintiff's unit

from his unit, and so everytime the defendant and his chain smoking friends smoke their dope--

their deadly secondhand cigarette smoke that contains a cocktail of rat poison and SO other

CANCER CAUSING chemicals---completely fills up plaintiff's apartment, rendering it totally

nnjnhabitable, which causes plaintiff pain & suffering. 10. To air out his apartment, plaintiff is

forced to open up all of his windows and go stand out in the heat, rain   or cold, which causes
plaintiff even more pam & suffering. 11. Plamtiff is caused even more pain & suffering due to

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paying rent but is denied his 1st Amendment rights of liberty, 4th Amendment rights of privacy,

 and his 14th Amendment rights of due process. 12. In response to plaintiff's request to refrain

 from smoking in the shared airspace building, a now irritated defendant John Doe stated it is a

 condoned custom for Muslims to smoke sweetened, menthol flavored tobacco. 13. Defendant

 John Doe went on to say, Muslims have to accept that Americans eat pork---which is against

Muslim law---so Americans have to accept that Muslims smoke tobacco. 14. In response to the

crude colloquy plaintiff replied, whenever plaintiff eats a braut, a pork chop or a B.B.Q. rib,

plaintiff doesn't force Muslims or anyone else to eat pork against their will. 1S. But everytime

defendant John Doe fires up his cigarette dope he violates plaintiff's rights, by forcing plaintiff to

secondhand smoke his dope that (the Surgeon General has certified) is the most addictive dope,

and is the only dope that kills 45,000 African American Neegroes each year. 16. Instead of

conceding, and obeying the law, the now enraged defendant John Doe walked off. 17. To cause

plaintiffto suffer even more from the intentional infliction ofmental, emotional, and physical

anguish, defendant John Doe and his partners in crime started smoking even more. 18. Because

defendant John Doe and his partners in crime thought it was.funny they would laugh everytime

plaintiff was forced to open up his windows, and go stand out in the heat, rain or cold, no matter

if it was 1:00 a.m. to 6 a.m. / 7:00 a.m. to 12 noon/ 1:00 p.m. to 6:00 p.m. or 7:00 p.m. to 12 mid

which caused plaintiff even more intentional infliction of pain & suffering. 19. As previously

alluded to, everytime defendant John Doe forced plaintiff to secondhand smoke his cigarette

dope, it caused plaintiff's veins & arteries to constrict---as a defense mechanism to keep out the

rat poison and SO other CANCER CAUSING chemicals---that caused plaintiff to suffer bouts

of coughing, sneezing, and excruciating chest pains, which caused plaintiff to not be able to

breath. 20. The secnndband cigarette smoke also caused plaintiff to break out in hives, and


                                                 so
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 caused plaintiff to suffer more migraine headaches, from having to ponder the harm defendant

 John Doe was doing to plaintiff's health. 21. After bringing the unlawful behavior to the

 attention of Villo, instead of defendant Villo taking proper remedial action, Villo acquiesced to

the wrongdoing by smUing at it, winking his eye at it, nodding his head in approval ofit, and

turning his head away. 22. To absolve himself of accountability, Villo stated after consulting

his attorney he was told because cigs are legal (as a condition to plaintiff being granted housing)

plaintiffhad to give up his right to a smoke free shared airspace dwelling, and had to accept

being forced to secondhand smoke OR in order to breath plaintiff would have to go and stand out

in the heat, rain or cold. 23. Villo's comments caused plaintiff even more pain & suffering.

24. The allegations the Marked Master Prosecutor has lodged against defendant John Doe are

Mau-auh Kir-roo (True of Voice/ Justified). 25. And because John Doe thought it wujimny

to cause plaintiff to suffer all the mental, emotional, and physical pain he did, the Comt is asked

to hold defendant John Doe liable for the intentional mfliction of pain & suffering, by allowing

this suit to proceed. 27. It will demonstrate that there is indeed help for the widow's son, and

although Muslims can smoke dummrsticks, foolsticks, cancersticks, deatbsticks or cigarettes,

and can shoot their lungs up with a cocktail of rat poison, and 50 other CANCER CAUSING

chemicals, they do not have the right to force plaintiff to secondhand smoke a cocktail of rat

poison and 50 other CANCER CAUSING chemicals, just because plaintiff eats pork.




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                                     JUDICIAL NOTICE

 1. The court should also take judicial notice of the fact that, cigarette butts are now the number 1

litter item around the world, which means, when it rains the SO cancer causing chemicals in the

butt seeps out & coJrtaminates the soil. 2. The different elevations of the ground causes ponding.

3. The ensuing winds lead to the formation of brooks, that turn into streams of toxic chemicals

finding their way into a sewer, which finds its way to a river, and ultimately to the ocean, where

the toxic mess evaporates and becomes a black cloud, that produces black rain, which destroys

the environment 4. Further, the pure objective, mathematical, factual & actual, peer reviewed

scientific data ofthe Surgeon General also says, 54,000 non-cigarette smokers die every year

from contracting secondhand smoking lung cancer. S. That's because, in addition to being

forced to ingest secondhand cigarette smoke, the deadly secnndband cigarette smoke also seeps

into a plaintiff's food, rendering it inedible. 6. Plaintiff's clothes are also infected with the

stench of cigarette smoke. 7. From being forced to breathe and eat a cocktail rat poison and SO

other CANCER CAUSING chemicals everyday, it's no wonder why 54,000 American citiz.ens

die each year from being are denied the right to be free from being forced to secondhand smoke.

8. The Court should also note that ifplaintiff were to walk down the street drinking a bottle of

champagne, beer, wine or liquor, defendant Mayor Ginther would have his police officers cite

plaintiff for drinking in public, even though plaintiffs beer, wine or liquor doesn't affect anyone

else--but defendant Mayor Ginther would not have one of his officers cite a citizen for smoking

a dummystick in public, even though their secondhand smoke violates the perpendicular, attacks

other citiz.ens, and negatively affects their health. 9. The previous means, the forked-tongued

hypocrisy should not be allowed to continue. 10. It's time for a bold new direction in order to

save humanity from self-destruction. 11. If the Court does not agree, and permits cigarette

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 smokers to continue forcing society to secondhand smoke a cocktail of rat poison and 50 other

 CANCER CAUSING chemicals, the health of all humans will continue to deteriorate, until

humanity no longer exits. 12. Like all other empires that rose and fell before it, America

became so powerful it couldn't be defeated from without 13. But because of lack of ethics,

America continued to try and serve two masters. 14. So America continued to permit cigarette

smokers to be given preferential treatment, and permitted them to continue forcing everyone else

to secondhand smoke a cocktail of rat poison and 50 other CANCER CAUSING chemicals.

15. Thus, America kept rotting from within, until it destroyed itself. 16. Because plaintiff does

not want to see that happen, he is doing bis part by bringing this righteous cause of action.

17. And so, with the utmost urgency plaintiff moves the Court to stare decisis and agree with all

of the other Courts who have already dealt with this issue. 18. Plaintiff moves the Court to rule

that if tenants live in a housing similar to a Convalesce Center or a Senior Citizen Center, it is

Unconstitutional for a landlord to deny non-cigarette smoking citizens their 1st, 4th and 14th

Amendment rights, and allow cigarette smokers to move in, and force all non-cigarette smoking

tenants to secondhand smoke. 19. The Court can also take credit for saving billions of dollars in

lost revenue. 20. Employers will no longer have to use a not as efficient (temporary) worker to

take the place of a (more efficient) regular employee, who had to miss work due to falling ill

from being forced to secondhand smoke cigarettes, and had to go to the Hospital for 1reatment

21. Thus, it's a win-win situation for all parties involved. 22. Accordingly, the Court is asked to

grant all of the requested relief in the Complaint. 23. Society can then get back to the days of

light hearts, keen moments, and peace of mind.




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                                                   RELIEF

 Wherefore, Plaintiffmakes a jury demand, and moves the Court t.o grant Judgment in the form of:

 1. Grant Declaratory relief in 1he form of declare the actions of all the defendants are Unconstitutional.

2. Grant Declaratmy relief in the form of declare that illegal immigration is unlawful.

3. Grant Declaratmy relief in the form of declan, all cities, counties, and states that have enacted
policies, practices, customs or promulgated procedures that profess their city, county and state t.o be a safe
haven sanctwuy city, county or state for illegal aliens are invalid.


4. Grant Declaratory relief in the form of declare that all government officials or any private citi7.en who
aids and abets illegal immigration are to be arrested, prosecuted, and incarcerated.

S. Grant Declaratory relief in the form of declare that all illegal immigrants are t.o be detected, rooted
out, rounded up, and .removed ftom Columbus, Ohio and all other cities, counties, and states of America.

6. Grant Declaratory relief in the form of declare that any rule, regulation, policy, practice, custom or
promulgated procedure prohibiting ICE from entering a det.ention facility t.o apprehend illegal aliens are
invalid.

7. Grant Declaratory relief in the form of dsclare that because ofthe imminent threat they pose to the
health and well being Qf all cimens, it is illegal to buy, sell or use cigarettes or all violators will suffer the
penalty ofbeins fined $1,000 dollars and/or at the desertion of a Judge will be incarcerated for 180 days.


8. Grant Declaratory relief in the form of declare that there is to be no smoking in public of anything, in
Columbus, Ohio or in any other City in the United States of America.


9. Grant Declaratory relief in the form of declare that proprietors who offer shared airspace Housing
must require (under penalty of eviction) that all tenants, and their guest, cannot smoke on the property.


10. Grant Declaratory relief in the form of declare that plain~ all citizens have a right to a safe, secure,
clean, and smoke-free shared airspace Housing complex.

11. Grant Inj1ll1Qtlve relief in the form of enjoin all defendants from engaging in their unlawful behavior.

12. Grant Injunctive relief in the form of enjoin all government officials ftom allowing illegal
immigration to occur at the southern border or anywhere else in the United States ofAmerica.


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13. Grant Injunctive relief in the form of e'fioin defendant Mayor Ginther, and all other government
officials in America, from maintaining policies, practices, customs or promulgated procedures that make
their city, county or state, a safe haven sanctuary city, county or state for illegal aliens.

14. Grant Injunctive relief in the form of e'fioin defendant Mayor Ginther, and all other government
officials in America from aiding and abetting illegal immigration.

15. Grant Injunctive relief in the form of issue an ORDER that states, any government officials who
violate the Court's ORDER are t.o be arrested, prosecuted, and incarcerated.
16. Grant Injunctive relief in the form of issue an ORDER that states, any public or private citizens in any
public or private entity that violates the Court's ORDER are t.o be arrested, prosecuted, and incarcerated

17. Grant Injunctive relief in the form of issue an ORDER that stat.es, all illegal immigrants are t.o be
detected, rooted out, rounded up, and removed from Columbus, Ohio and from all other cities, counties,
and states of America.


18. Grant Injunctive relief in the form of enjoin any role, regulation, policy, practice or promulgated
procedure that prohibits ICE from entering a detention facility t.o apprehend illegal aliens.

19. Grant Injunctive relief in the form of e,goin smoking cigarettes in public or smoking weed in public
or vaping or smoking anything else in public in Columbus, Ohio or in any other City in the United States.

20. Grant Injunctive relief in the form of enjoin the public or private buying, selling or use of cigarettes.

21. Grant Iltjunctive relief in the form of issue an ORDER that states, because of the imminent threat t.o
the health and well-being of all citi7.ens, anyone caught buying, selling or using cigarettes shall suffer the
penalty of being fined $1,000 dollars or at the discretion of a Judge will be incarcerated for 180 days.

22. Grant Injunctive relief in the form of e'lgoin defendant Jose Villavicencio, and all other proprietors
who offer shared airspace Housing, from permitting cigarette smoking t.o occur anywhere on the property.


23. Grant Injunctive relief in the form of e'lgoin defendant John Doe from being able t.o smoke cigarettes
anywhere on the property of 409 Saint Clair Avenue Columbus, Ohio 43203.

24. Grant Iltjunctive relief in the form of appoint a Special Master t.o oversee a Consent Decree that will
ensure that all of the defendants will abide by the Court's roling.

25. Grant Compensatmy relief in the form of award plaintiff 500,000 dollars in compensatory damages.
from the City of Columbus (Defendant Mayor Ginther) for official capacity violation of plaintiff's rights.

26. Grant Compensatory relief in the form of award plaintiff $50,000 dollars in compensatory damages
from the City of Columbus (defendant Mayor Ginther) for his individual violation of plaintiff's rights.


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27. Grant Compensatoty relief in the form of award plaintiff S0,000 dollars in compensatory damages
:from defendant Jose Villavicencio for his official capacity violation ofplaintiff's rights.

28. Grant Compensatory relief in the form of award plaintiff 2S,OOO dollars in compensatory damages
:from defendant Jose Villavicencio for his individual capacity violation of plaintiff's rights.

29. Grant Compensatory reliefin the form of award plaintiff 20,000 dollars in compensatory damages
:from defendant Jose Villavicencio for the Intentional Infliction of Emotional Distress.

30. Grant Compensatory relief in the form of award plaintiff 20,000 dollars in compensatory damagea
from defendant Jose Villavicencio for the Pain & Suffering he caused plaintiff.

31. Grant Compensatory relief in the form of award plaintiff 20,000 dollars in compensatory damages
from defendant John Doe for the Intentional Infliction of Emotional Distress.

32. Grant Compensatory reliefin the form of award plaintiff 20,000 dollars in compensatory damages
from defendant John Doe for the Pain & Suffering he caused plaintiff.

33. Grant Punitive relief in the form of award plaintiff 1 Million dollars in punitive damages ftom the
City of Columbus (Mayor Ginther) for the official capacity violation of plaintiff's rights.

34. Tax all costs to the defendants.

3S. Grant any and all other relief the Court deems appropriate.




Respectfully submitted,




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